                    out form and print 4 copies. Sign and date all copies and route as specified below.
            Case 1:19-cv-00644-RJJ-RSK ECF No. 9 filed 10/23/19 PageID.51 Page 1 of 4


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                                                                                                                                                ..
U.S. Department of Justice                                                                                                                       .
United States Marshals Service                                                                                                              .


                                                                                                                       FILED -GR
  NOTICE AND ACKNOW LEDGM ENT OF RECEIPT OF SUMMONS AND CO                                                     Octo be r 23, 2019 10:41 AM
                                                United States District Court                                        CLERK OF COURT
                                                          for the                                                 U.S. DISTRICT COURT
                                                                                                              WESTERN DISTRICT OF MICHIGAN
                                                Western District o f M ichigan                                BY:_ mkc_ SCANNED BY: ~                /_   _



                                                                         Civil Acti on, File N umber I : l 9-CY-644
TO: United States A ttorneys Office
    330 Ionia, NW
                                                                                                Ronald Sortland
    5th Floor Law Building
                                                                                                        \I.
    Grand Rapids, Ml 49503
                                                                                             Unknown Colobcl-Singn



  T he enclosed summons and com plain t are served pursuant to Rul e 4(e)( I) of the Federal Rules of Civil Procedure, and
Michigan      State law.

   You MUST COM PLET E the acknowledgment part of this fo rm below, AND RETURN COPIES I AN D 2 to the sender
withi n 60 days. An envelope has been enclosed fo r this purpose. Keep copy 3 fo r you r records.

   YOU MUST SIGN AN D DATE TH E ACKNOWLEDGMENT ON ALL COPIES. If you are served on behalfofa
corporation, uni ncorporated associatio n (including a partn ership), or other ent ity, you must indicate under your signature your
relationship to that entity. If you are served o n behalf of another person and you are authorized to receive process, you must
indicate under you r s ig nature your authority.

   If you do not complete and return copi es I and 2 of this fo1111 to th e sender w ithin days, you (or the pa rty on w hose
behalf you are being served) may be requi red to pay any expenses incun-ed in serving a sum mons and complai nt in any other
manner pem1itted by law.

   If you do com plete and return copies I and 2 of this fonn , you (or the party on whose behalf you are be ing served) must
answer the complaint within 2 1 days for pri vate defendants and/or 60 days for Federal defendants. If you fa il to do so,
judgment by default w ill be taken against you for the relief dema nded in the compla int.

  I dec lare, under penalty o f pe1j ury, that this Noti ce and Acknowledgment of Receipt of Summons and Complaint By Mail
was mailed on this date.
                                                                        CHRISTOPHER                      Digitally signed by
                                                                                                         CHRISTOPHER ANDRESKI
10/02/20 19                                                             ANDRESKI                         Date: 2019.10.01 13:48:19-04'00'

Date of Signature                                                       S ignature (USMS Official)


                         ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AN D COMPLAINT

  I declare, under penalty of pe1j ury, that I received a copy of the summo ns and of the com plain t in the above captioned
man ner at:

        UNITED STATES ATTORNEY
StreeWfiS'f~FtNtlfflSirfU~l'l0F<MICFf~x No.
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                                                                                                  thfili Y to Receive
             PO BDX208
      GRAND RAPIDS Ml 49501-0208
                                                                       Service of Process                          "

                                                                               /0 /3 f I C,
                                                                       Date o f Signature


Copy I - Clerk of Court
Copy 2 - United States Marshals Service
                                                                                                                               USM Fonn-299
Copy 3 - Addressee                                                                                                                Rev. 05/10
Copy 4 - USMS District Suspense                                                                                               A utomated 10/03
-              Case
       '-USM-285       1:19-cv-00644-RJJ-RSK
                 is a 5-part                           ECF
                             form. Fill out the form and     No.
                                                         print    9 filed Sign
                                                               5 copies.  10/23/19    PageID.52
                                                                               as needed            Page
                                                                                         and route as     2 of below.
                                                                                                      specified 4

      U.S . Department of Justice                                                           PROCESS RECEIPT AND RETURN
      United States Marshals Service                                                        See "/11s1ruc1io11s for Sen ·ice o(Process hv U. S. Alarslw l "

       PLAINTIFF                                                                                                           COURT CASE NUMBER
       Ronald Sortland                                                                                                     I: I9-cv-00644
       DEFENDANT                                                                                                           TY PE OF PROCESS
       Commissioner of Social Security                                                                                     Summons & Complaint
                            NAME OF IND IVIDUAL, COM PANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

           SERVE            Office of the Attorney General, Department of Justi ce
              AT       {    ADDRESS (Street or RFD. Apartment No.. City. State a11d Zif' Code)

                            950 Pennsylvania Avenue, NW, Washington, DC 20530
       SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                              Number of process to be
                                                                                                                       served with this Fonn 285

                     1--;:nald D. Sortland                         Virginia Sortland                                   Number o r panics to be
                       1016 Lausman Drive                          IO16 Lausman Drive                                  served in this case                      3
                      St. Joseph, Ml 49085                         St. Joseph, MI 49085
                      (269) 983-2987                                                                                   Check for service
                     L                                                                                                 on U.S.A.                                X

           SPECIAL INSTRUCTIONS OR OTH ER INFORMATION Tl IAT WILL ASSIST IN EX PEDITING SERVICE (/11c/11de Httsines., and A lternate Addres.,es,
           All Telephone Numbers, 11111/ Estimated Times A mi/able for Service):
    Fold                                                                                                                                                                           Fold




       Signature of Allorney other Originator requesting service on behalf or:
                                                                                            0   PLAINTIFF          TELEl'IIONE NUMBER                               DATE

                                                                                            0   DEFENDANT

           SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW TH IS LINE
       I ack11owkdgc receipt for the total     Total Process   District of    District to        Signature of Authorized USMS Deputy or Ckrk                               Date
       number of process indicated.                            Origin         Serve
       (Sig11 011/yfor USM 285 !/more                                                                                         0 1911/'ltly signed by CHRISTOPHER

                                                I                    040             040         CHRISTOPHER ANDRESKI         ANORESK!
       than one USM 285 is submilled)                          No.             No.                                            Date 2019 10 21 13 32 02-04'00'              10/23/20 19

       I hereby cenify and return that I D have personally served , D have legal evidence of service,~ have executed as shown in "Remarks", the process described
       on the individual , company, coqioration, etc., al the address shown above on the on the individual , company, coq>aration, etc. shown at the address inse11ccl below.

       0      I hereby ceni fy and return that I am unable to locate the individual, company, coqioration. etc. named above (See remarks below)
       Name and title of individual se1vcd (!/'not shown abo,·e)
                                                                                                                              •      A person o r suitable age and discretion
                                                                                                                                     then residing in defendant's usual place
                                                                                                                                     of abode
      Address (complete only d[{/i!re111 than shown abo,·e)                                                                    Date                             Time
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      Service Fee
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      REMARKS:




       PRINT S COPIES:         I. CLERK OF Tl IE COURT                                                                                          PRIOR EDITIONS MAY BE USED
                               2. USMS RECORD
                               3. NOTICE OF SER VICE
                               4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,
                                  if any amount is owed. Please remit promptly payable 10 U.S. Marshal.                                                                      Form USM-285
                               5. ACKNOWLEDGMENT OF RECE IPT                                                                                                                     Rev. 12/80
•            Case
     ., USM-285      1:19-cv-00644-RJJ-RSK
                is a 5-part                          ECF
                            form. Fill out the form and    No.
                                                        print    9 filed Sign
                                                              5 copies.  10/23/19    PageID.53
                                                                              as needed            Page
                                                                                        and route as     3 of below.
                                                                                                     specified 4

      U.S. Department of Justice                                                              PROCESS RECEIPT AND RETURN
      United States Marshals Service                                                          See "l11struclio11s for SerFice ofProcess bv U.S. Marshal"

       PLAINTIFF                                                                                                                 COURT CASE NUMB ER
       Ronald Sortland                                                                                                          I: I9-cv-644
       DEFENDANT                                                                                                                 TY PE OF PROCESS
       Unknown Colobel-Singn                                                                                                    Summons & Complaint
                             NAME OF INDI VIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DE CRIPTION OF PROPERTY TO SEIZE OR CONDEMN

           SERVE { Unknown Colombel-Singh
              AT   ADDRESS (Street 01 RFD. Apa, tment No . Cuy. State and ZIP Code)

                             Social Security Field Office 455 Bond Street Benton Harbor, Ml 49022
       SEND NOTICE OF SERV ICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                               Number of process to be
       - - - -- ·- -- - -- - -- ----~---.-----------~----··- - - - ~--------1                                            served with this Fonn 285

                      J~ nald D. Sortland                            Virginia Sortland                                    Number of parties to be
                        1016 Lausman Drive                           IO16 Lausrnan Drive                                  served in this case                          3
                        St. Joseph, M l 49085                        St. Joseph, Ml 49085
                        (269) 983-2987                                                                                    Check for service
                      L                                                                                                   on U.S./\.                                   X

           SPECIAL INSTRUCTIONS OR OT HER INf-ORMATION H l,\T WILL ASS IST IN EX PEDITING SERVICE (lnc/11de R11si11ess and Altemt11e Addresses,
           All Te/epl,011e N11mbers, 1111d Estimated Times Avai/able for Service):
    Fold                                                                                                                                                                                   Fold




       Signature of Attorney other Originator requesting service on behalf or:
                                                                                              0   PLAINT IFF          TELEPI IONE NUM BER                                  DATE

                                                                                              0   DEFENDANT

            SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
       I acknowledge receipl for the total      Total Process   District or     Districl to        Signature of Authorized USMS Deputy or C lerk                                  Date
       number of process indicated.                             Origin          Serve
                                                                                                                                    Oig,tally sgnod by CHRISTO PHER
       (Sign only for USA•/ 2115 !/ more                                                           CHRISTOPHER ANDRESKI
       1han one USM 285 is s11bmi11ed)           I               No.   040       No.   040                                          ANORESKI
                                                                                                                                    Date 20 19 102 1 1341.53 -04'00'              I0/23/2019

       I hereby cenify and return that I D have personally served , D have legal evidence of service, ~ have executed as shown in "Remarks", the process described
       on the individual , company, corporation. etc., at the address shown above on the on the individual , company, coqioration, etc. shown at the address inscned below.

       0       I hereby cc11ify and return that I am unable to locate the individual, company, coqioration, etc. named above (See remarks be/0111)
       Name and title or individual served (i/'nor sholl'n abo,·eJ
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                                                                                                                                            o f abode
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       REMARKS:




       PRINT S COPIES:          I. CLERK OF TH E COURT                                                                                               PRIOR EDITIO NS MAY BE USED
                                2. USMS RECORD
                                3. NOTIC E OF SERVIC E
                                4. BILLING STAT EM ENT*: To be returned to the U.S. Marshal with payment,
                                   if any amount is owed. Please remit promptly payable to U.S . Marshal.                                                                            Fonn USM-285
                                5. ACKNOWLEDGMENT OF REC EIPT                                                                                                                            Rev. 12/80
Case 1:19-cv-00644-RJJ-RSK ECF No. 9 filed 10/23/19 PageID.54 Page 4 of 4




       SENDER: COMPLETE THIS SECTION
       •     Complete items 1, 2, and 3.
       •     Print your name and address on the reverse
             so that we can return the card to you.
         •Attach this card to the back of the mallpiece,
          or on the front if space permits.
       1. Article Addressed to:                                                       D. Is delivery address different from i m 17 D Yes
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                                                                                        over$500
       PS Form        3811, July 2015 PSN 7530-02-000-9053                     t ; l'f - c_ \,) • (; ""                      Domestic Return Receipt




     SENDER: COMPLETE THIS SECTION
      •      Complete items 1, 2, and 3.
      •      Print your name and address on t he reverse                                                                                  D Agent,    •
             so that we can return the card to you.
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     •  Attach this card to the back of the mailpiece,                             B. Received by (Prinle                          tH   gate of Delivery
        or on the front if space permits.
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      Office of the Attorney General                                                   USM-WMI'190CT16PM 2=13
      Department of Justice
      950 Pennsylvania Ave, •NW
      Washington, DC 20530
                                                                                 3. Service Type                             •Priority Mall Express®

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